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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


USA,
                                                        No. 21 CR 239
               Plaintiff,
          v.                                            Judge Manish S. Shah

DANIEL ROSENBAUM,

               Defendant.


                                            ORDER

(00:30)

Change of plea hearing held. Defendant informed of his rights and the charges against him.
Defendant enters a plea of guilty to Count 3 of the Indictment, pursuant to a written plea
agreement. The court finds the defendant competent to enter a guilty plea, and defendant’s guilty
plea is knowing, voluntary, and supported by an adequate factual basis. The court accepts the
defendant's guilty plea. Enter Plea Agreement. The court enters a finding of guilt as to defendant
Daniel M. Rosenbaum. This case is referred to the Probation Office for preparation of the
presentence report. The government shall submit its version of the offense to the Probation
Office by 8/31/23. Defendant must submit his version to the Probation Office by 9/7/23. See
Local Criminal Rule 32. l (e). Pursuant to Local Criminal Rule 32.1 (f), the court gives notice to
the Probation Office and directs it to disclose (with the PSR) the Probation Office's sentencing
recommendation to counsel for the defendant and the government. Presentence report is due
10/17/23. Sentencing memoranda with objections to the presentence report and discussing 18
U.S.C. § 3553(a) factors must be filed (in one combined filing per side) by 11/7/23. Any
responses must be filed by 11/14/23. Failure to file the memoranda by that deadline risks waiver
of any objections to the presentence report. Sentencing is set for 11/21/23 at 1:30 p.m. Defendant
shall remain detained pending sentencing.




ENTER:

August 17, 2023
                                                            Manish S. Shah
                                                            U.S. District Judge
